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 1                                   UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3                                                        ***
 4   DARIUS MCCALL,                                                   Case No. 2:18-cv-01319-APG-EJY
 5                  Plaintiff,
 6          v.                                                                        ORDER

 7   LAS VEGAS METROPOLITAN POLICE
     DEPARTMENT, et al.,
 8
                    Defendants.
 9

10          Before the Court is Lakiesha McCall’s Motion to Substitute Administrator as the Plaintiff. 1
11   ECF No. 88. Lakiesha McCall represents she is the Administrator of the Estate of Plaintiff Darius
12   McCall. Id. at 2; see also ECF No. 88-1 (Eighth Judicial District Court Order appointing Lakiesha
13   McCall as Administrator of Darius McCall’s Estate).
14          Fed. R. Civ. P. 25(a)(1) provides that a motion for substitution of parties must be brought
15   within ninety days after service of a statement noting a party’s death. On July 22, 2020, Plaintiff’s
16   counsel filed a Suggestion of Death on the record, advising the Court that Darius McCall passed
17   away on July 13, 2020. ECF No. 82. On October 7, 2020, less than ninety days after the Suggestion
18   of Death was submitted, Lakiesha McCall timely filed her Motion to Substitute. ECF No. 88.
19          Accordingly,
20          IT IS HEREBY ORDERED that Lakiesha McCall’s Motion to Substitute Administrator as
21   the Plaintiff (ECF No. 88) is GRANTED.
22          DATED THIS 16th day of October, 2020.
23

24
                                                        ELAYNA J. YOUCHAH
25                                                      UNITED STATES MAGISTRATE JUDGE
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            The Court made typographical changes to the title of Lakiesha McCall’s Motion for the sake of clarity.
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